                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 UNITED STATES OF AMERICA,                     )
                                               )
         Plaintiff,                            )
                                               )
 v.                                            )   NO. 3:21-cr-00264-1
                                               )
 BRIAN KELSEY                                  )
                                               )
         Defendant.                            )


                                          ORDER

        An evidentiary hearing on Defendant Brian Kelsey’s Motion to Withdraw Plea of Guilty

and File Motion to Dismiss (Doc. No. 93) will be held on May 16, 2023, at 9:00 AM.

        IT IS SO ORDERED.



                                           ____________________________________
                                           WAVERLY D. CRENSHAW, JR.
                                           CHIEF UNITED STATES DISTRICT JUDGE




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